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                                                                                                       212 3352030



                                                                July 17, 2019


   BYECF

   The Honorable Pamela K. Chen
   United States District Court
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201


                  Re:     United States v. Jeffrey Webb, et al., 15-CR-00252 (PKC)


   Dear Judge Chen:

           We write to respectfully request that the sentencing date for our client, Alejandro Burzaco,
   currently set for August 21, 2019, be adjourned for six months to a date convenient for the Court.
   We have consulted with the Government and they consent to this request.


                                                                Sincerely,




  cc:     United States Attorney's Office, Eastern District of New York
